                                                                       Judge: Hon. Thomas W. Dore
1                                                                      Chapter 13
                                                                       Location: Seattle
2
                                                                       Hearing Date: June 1, 2022
3                                                                      Hearing Time: 9:30a.m.
                                                                       Response Date: May 25, 2022
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7
                                UNITED STATES BANKRUPTCY COURT
8
                                WESTERN DISTRICT OF WASHINGTON
9                                          AT SEATTLE

10
     In Re:
11                                                            Bankruptcy Case No. 20-12450 TWD
     BEVERLY JANE CARY
12                                                            Adversary Case No. 22-01000-TWD
                                Debtor
13
                                                              DEFENDANT FIRST AMERICAN
     BEVERLY JANE CARY,                                       TITLE INSURANCE COMPANY’S
14
                                                              MOTION TO STRIKE PLAINTIFF’S
15                              Plaintiff,                    SECOND AMENDED COMPLAINT
                        v.
16
     PATCH SERVICES, LLC d/b/a NOAH;
17   PATCH HOMES, INC.; FIRST AMERICAN
     TITLE INSURANCE COMPANY LENDERS
18   ADVANTAGE,

19                              Defendants.

20
              Pursuant to Federal Rule of Bankruptcy Procedure 7012 and Federal Rule of Civil
21

22   Procedure 12(f), Defendant First American Title Insurance Company (erroneously sued as

23   First American Title Insurance Company, Lender’s Advantage) (“FATIC”) hereby submits

24   the following Motion to Strike Plaintiff’s Second Amended Complaint.

25   100047/002553/02633542-2
     FIRST AMERICAN’S MOTION TO STRIKE                                 LAGERLOF LLP
     SECOND AMENDED COMPLAINT-1                                     701 PIKE STREET, SUITE 1560
                                                                        SEATTLE, WA 98101
Case 22-01000-TWD
   Case No. 22-01000-TWD Doc 17              Filed 05/02/22    Ent. 05/02/22  17:41:42
                                                                       PHONE: 206-492-2300        Pg. 1 of 4
1
                       I.       INTRODUCTION AND RELIEF REQUESTED
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3             Plaintiff Beverly Jane Cary has filed the Second Amended Complaint without leave

4    of the Court or consent of the parties. This filing violates FRBP 7015 and should be

5    stricken as a procedurally improper nullity without legal effect. Based on the foregoing and

6    as further set forth below, FATIC respectfully requests that the Court strike Plaintiff’s
7    Second Amended Complaint from the judicial record.
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                                            II.     FACTS
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              Plaintiff filed her original adversary complaint (“Complaint”) on January 18, 2022.
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     Dkt. at 1. Plaintiff filed a First Amended Adversary Complaint (the “FAC”) on January 19,
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     2022. Dkt. at 2. Then, without obtain leave of court, Plaintiff filed Second Amended
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     Adversary Complaint (the “SAC”) on March 4, 2022. Dkt. at 4. The SAC adds FATIC as a
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     party asserting claims against FATIC for violations of the Escrow Agent Registration Act,
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     RCW 18.44 et seq., the Washington Consumer Protection Act, RCW 19.86 et seq., and the
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16   federal Truth in Lending Act, 15 U.S.C. § 1601, et seq. Dkt. at 4, ¶¶ 3.23-3.28, 3.40-3.47.

17            There is nothing in the judicial record to support that Plaintiff was granted leave of

18   the Court or obtained agreement of the parties to file the SAC.

19                                   III.     LEGAL ARGUMENT
20            Federal Rule of Bankruptcy Procedure 7015 provides that Federal Rule of Civil
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     Procedure 15 applies in adversarial bankruptcy proceedings. Federal Rule of Civil
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     Procedure 15(a)(1) permits a party just one opportunity to amend a pleading without leave
23
     of the Court. Once a party has amended once, leave of the court is required to amend again.
24
     FRCP 15(a)(2).
25   100047/002553/02633542-2
     FIRST AMERICAN’S MOTION TO STRIKE                             LAGERLOF LLP
     SECOND AMENDED COMPLAINT-2                                 701 PIKE STREET, SUITE 1560
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Case 22-01000-TWD
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              “If an amended pleading cannot be made as of right and is filed without leave of
1
     court or consent of the opposing party, the amended pleading is a nullity and without legal
2

3    effect.” Hardin v. Wal-Mart Stores, Inc., 813 F. Supp. 2d 1167, 1181 (E.D. Cal. 2011).

4    Such a pleading may also be stricken under Rule 12(f). Canady v. Erbe Elektromedizin

5    GmbH, 307 F. Supp. 2d 2, 7 (D.D.C. 2004).

6             Plaintiff amended her Complaint once as a matter of course and without leave of
7    the Court by filing the FAC on July 19, 2022. Dkt. at 2. Plaintiff filed the SAC without
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     leave of the Court and without consent of the parties. Accordingly, the Court should hold
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     that the SAC is a nullity, has no legal effect, and order it stricken. By extension, the
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     summons issued on the SAC (Dkt. at 6) is also invalid and must be quashed or vacated.
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                                       IV.    CONCLUSION
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              Based on the foregoing, FATIC respectfully requests that the Court grant this
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     Motion to Strike, strike Plaintiff’s SAC from the judicial record, and quash or vacate the
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     summons issued on the SAC (Dkt. at 6).
15

16            DATED this 2nd day of May 2022.

17
                                                   LAGERLOF LLP
18
                                                   s/ Robert A. Bailey                __
19                                                 Robert A. Bailey, WSBA No. 28472
                                                   701 Pike Street, Ste 1560
20                                                 Seattle, WA 98101
                                                   Phone: 206-492-2300
21
                                                   Email: rbailey@lagerlof.com
22                                                 Attorneys for First American Title
                                                   Insurance Company
23

24

25   100047/002553/02633542-2
     FIRST AMERICAN’S MOTION TO STRIKE                          LAGERLOF LLP
     SECOND AMENDED COMPLAINT-3                              701 PIKE STREET, SUITE 1560
                                                                 SEATTLE, WA 98101
Case 22-01000-TWD
   Case No. 22-01000-TWD Doc 17      Filed 05/02/22    Ent. 05/02/22  17:41:42
                                                               PHONE: 206-492-2300         Pg. 3 of 4
1
                                 DECLARATION OF SERVICE
2
              I hereby declare under penalty of perjury of the laws of the State of Washington
3
     and the United States of America that on this 2nd day of May 2022, I electronically field
4
     the foregoing with the Clerk of the Court for the United States District Court, Western
5
     District of Washington using the CM/ECF system, which will provide notice to the
6
     following parties:
7     Melissa A. Huelsman, WSBA No. 30935         [ ] By United States Mail
      Law Offices of Melissa A. Huelsman, P.S.    [ ] By Legal Messenger
8
      705 2nd Ave, Suite 606                      [ ] By Email:
9     Seattle, WA 98104                           mhuelsman@predatorylendinglaw.com
      Attorney for Plaintiff                      [X] By CM/ECF E-Service
10
      Mark McClure, WSBA No. 24393                [ ] By United States Mail
11    Law Offices of Mark McClure, PS             [ ] By Legal Messenger
      1103 W. Meeker St., Suite 101               [ ] By Email: mark@mcclurelawgroup.com
12    Kent, WA 98032                              [X] By CM/ECF E-Service
      Attorney for Plaintiff
13

14    Christina L. Henry, WSBA No. 31273          [ ] By United States Mail
      Henry & Degraaff, PS                        [ ] By Legal Messenger
15    119 1st Ave S., Suite 500                   [ ] By Email: chenry@hdm-legal.com
      Seattle, WA 98104                           [X] By CM/ECF E-Service
16    Attorney for Plaintiff

17    Faye Rasch, WSBA No. 50491                  [ ] By United States Mail
      Law Office of Faye C. Rasch                 [ ] By Legal Messenger
18
      600 Stewart St., Suite 1300                 [ ] By Email: fraschlaw@gmail.com
19    Seattle, WA 98101                           [X] By CM/ECF E-Service
      Attorney for Defendant Patch Services
20    LLC

21            DATED this 2nd day of May 2022 at Seattle, Washington.

22
                                                 s/ Karrie L. Blevins
23                                               Karrie L. Blevins, Paralegal
                                                 Lagerlof LLP
24

25   100047/002553/02633542-2
     FIRST AMERICAN’S MOTION TO STRIKE                         LAGERLOF LLP
     SECOND AMENDED COMPLAINT-4                             701 PIKE STREET, SUITE 1560
                                                                SEATTLE, WA 98101
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                                                               PHONE: 206-492-2300        Pg. 4 of 4
